
41 A.3d 568 (2012)
425 Md. 393
In the Matter of the APPLICATION OF J.H.K. for Admission to the Bar of Maryland.
Misc. No. 23, September Term, 2011.
Court of Appeals of Maryland.
April 10, 2012.
BELL, C.J., HARRELL, BATTAGLIA, GREENE, ADKINS, BARBERA and McDONALD, JJ.

ORDER
The Court having considered the separate recommendations of the Character Committee for the Sixth Appellate Circuit of Maryland and the State Board of Law Examiners, the Applicant's Memorandum and the oral argument of the applicant's counsel presented at a hearing held before this Court on April 5, 2012, it is this 10th day of April, 2012,
ORDERED, by the Court of Appeals of Maryland, that the unfavorable recommendation of the Character Committee for the Sixth Appellate Circuit be, and it is hereby, rejected, and the favorable recommendation of the State Board of Law Examiners be, and it is hereby, accepted, and it is further
ORDERED, that the applicant, upon taking the oath prescribed by the statute, be admitted to the practice of law in this State.
